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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

    CHRIMAR SYSTEMS, INC., et al.,

                   Plaintiffs,                                     6:15–CV–618–JRG
    v.                                                                PATENT CASE
    ADTRAN, INC.,
                                                                 JURY TRIAL DEMANDED
                   Defendant.


                                               ORDER

          The Court, having considered Defendants ADTRAN, Inc., Accton Technology Corp.,

  EdgeCore USA Corp., D-Link Systems, Inc., and TRENDnet International Inc.’s Motion for an

  Order Directing Plaintiffs to Produce Recent Settlement Documents and to Amend the Scheduling

  Order to Reopen Discovery and Request For Expedited Briefing (Dkt. 776), the record, and the

  applicable authorities, concludes that the motion should be DENIED-IN-PART and GRANTED-

  IN-PART. Therefore, the Court ORDERS the following:

          Plaintiffs Chrimar Systems Inc. and Chrimar Holding Company, LLC (“Chrimar”) shall

  produce the signed term sheet regarding its settlement with Defendant Dell Inc. (“Dell”) by 5:00

  P.M. on Monday, January 9, 2017. Chrimar also shall produce its settlement and license agreement

  with Defendant EnGenius Technologies, Inc. (“EnGenius”) by 5:00 P.M. on Monday, January 9,

  2017.

          Chrimar shall produce its final settlement agreement and license with Dell agreement by

  midnight (Central Time) January 12, 2017. The parties’ respective damages experts Mr. Mills and

  Mr. Bakewell may consider the foregoing agreements and may produce supplemental reports, as

  necessary, addressing only with these specific materials and how they affect each expert’s opinions
     .
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  as expressed in their previously served expert reports. Such supplemental reports, if any, shall be

  served no later than noon on January 13, 2017. Any motion to strike by either side with respect

  to either supplemental report must be filed before 5:00 P.M. on Friday, January 13, 2017.



         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 9th day of January, 2017.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE




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